                                                            THE HONORABLE JAMES ROBART
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3                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
4

5    BRADY EDMONDS, on behalf of himself and
     those similarly situated,
6                                                        NO. 2:19-cv-01613-JLR
                               Plaintiffs,
7                                                        NOTICE OF FILING CONSENT TO
             vs.
                                                         JOIN OF OPT-IN PLAINTIFF
8
     AMAZON.COM, INC., a Foreign for Profit
9    Corporation; AMAZON LOGISTICS, INC., a
     Foreign for Profit Corporation; AMAZON.COM
10   SERVICES, INC., a Foreign for Profit
     Corporation,
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                               Defendants.
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14           Plaintiff, BRADY EDMONDS, by and through the undersigned counsel, hereby

15       gives notice of filing the attached Consent to Join forms executed by AJAY
16       VISHWAKARMA, who worked out of the Amazon fulfillment center in Eagan,
17
         Minnesota, and VIVEK DANIELSON, who worked out of the Amazon fulfillment
18
         center in Eagan, Minnesota, attached hereto as Exhibits A.
19
             RESPECTFULLY SUBMITTED AND DATED this 17th day of January, 2020.
20

21                                           MORGAN & MORGAN, P.A.
22
                                             By:    Paul M. Botros     _______________
23                                                 Paul M. Botros, Admitted Pro Hac Vice
                                                   Email: pbotros@forthepeople.com
24                                                 Andrew R. Frisch, Admitted Pro Hac Vic
                                                   Email: afrisch@forthepeople.com
25
                                                   8151 Peters Road, Suite 4000
26   Notice of Filing Consents to Join 1
     Case No.: 2:19-cv-01613-JLR                                TERRELL MARSHALL LAW GROUP PLLC
27                                                              936 North 34th Street, Suite 300
                                                                Seattle, Washington 98103-8869
                                                                MORGAN & MORGAN, P.A.
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                                                                Plantation, FL 33324
                                                                TEL. 954-318-0268 FAX 954-327-3013
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8                                          Attorneys for Plaintiffs
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26   Notice of Filing Consents to Join 2
     Case No.: 2:19-cv-01613-JLR                          TERRELL MARSHALL LAW GROUP PLLC
27                                                        936 North 34th Street, Suite 300
                                                          Seattle, Washington 98103-8869
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                                                          8151 Peters Road, Suite 4000
                                                          Plantation, FL 33324
                                                          TEL. 954-318-0268 FAX 954-327-3013
                                           CERTIFICATE OF SERVICE
1

2            I HEREBY CERTIFIY that on this 17th day of January 2020, I electronically filed the

3    foregoing with the Clerk of the Court using the CM/ECF system which will send a notice of

4    electronic filing to all counsel of record.
5
                                                        By: /s/ Paul M. Botros, Esq.
6                                                               PAUL M. BOTROS, Esq.

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26   Notice of Filing Consents to Join 3
     Case No.: 2:19-cv-01613-JLR                              TERRELL MARSHALL LAW GROUP PLLC
27                                                            936 North 34th Street, Suite 300
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